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DATED: May 30, 2025                        Respectfully Submitted,


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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of this Motion was filed electronically through

the Court’s ECF system.



DATED: May 30, 2025                                 /s/ Lauren Gorodetsky

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